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5
     Attorneys for Plaintiffs James Estakhrian.
6
     Abdi Naziri, all others similarly situated
7

8                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
                                SOUTHERN DIVISION
10

11   JAMES ESTAKHRIAN and ABDI NAZIRI, Case No.: CV11-3480 GAF (CWX)
     on behalf of themselves and all others
12                                            SECOND AMENDED CLASS
     similarly situated,                         ACTION COMPLAINT
13                                                     FOR:
                   Plaintiffs,
14
                                            ATTORNEY MALPRACTICE;
15         v.                               BREACH OF FIDUCIARY DUTY;
16   MARK OBENSTINE, BENJAMIN F             BREACH OF CONTRACT;
     EASTERLIN IV, TERRY A.COFFING,         UNFAIR COMPETITION;
17
     KING & SPALDING, LLP, and MARQUIS UNFAIR BUSINESS PRACTICES;
18   & AURBACH, P.C.,                       AND FRAUD
19
                   Defendants
20
                                                     DEMAND FOR JURY TRIAL
21

22

23           Plaintiffs James Estakhrian and Abdi Naziri, on behalf of themselves and all
24   others similarly situated, complain against Mark Obenstine, Benjamin F Easterlin
25   IV, Terry A. Coffing, King & Spalding, LLP, and Marquis & Aurbach, P.C. as
26   follows:
27                                NATURE OF THE ACTION
28      1.      This is a case of attorney malpractice, fraud and other wrongdoing

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1
     brought about by a concealed conflict of interest and other ethical violations on the
2
     part of King & Spalding, LLP, one of the largest law firms in the United States,
3
     Benjamin F Easterlin IV a partner in that law firm, and their co-counsel. Plaintiffs
4
     and the proposed class members placed approximately $250.0 million in earnest
5
     money deposits for the purchase of condominium units in a development known as
6
     the Cosmopolitan Resort and Casino Las Vegas (“Cosmopolitan”), in Las Vegas,
7
     Nevada. Defendants represented members of the proposed class in litigation
8
     claiming breach of contract in connection with their condominium purchases,
9
     seeking, among other things, a return of their deposits.
10
        2.     Defendants encouraged plaintiffs and members of the proposed class to
11
     settle the litigation for a fraction of their deposits, and the litigation was settled on
12
     that basis. Unbeknownst to plaintiffs, however, Easterlin and King & Spalding,
13
     who had not entered an appearance in the Cosmopolitan litigation but nonetheless
14
     acted as counsel and directed the litigation, had a massive and direct conflict of
15
     interest because of their representation of Deutsche Bank, whose wholly-owned
16
     subsidiary had become the owner of Cosmopolitan. Thus, defendants in general,
17
     and Easterlin and King & Spalding in particular, were in a position to know and
18
     did know important facts about the controversy which they failed to disclose and
19
     which they concealed from plaintiffs and members of the proposed class due to the
20
     conflict of interest. The main undisclosed and concealed fact was that the
21
     Cosmopolitan owner did not intend to complete the project as a condominium-
22
     casino project, but rather as a hotel-casino project. This fact alone demonstrated
23
     that the owner did not intend to, and could not, fulfill the terms of the
24
     condominium purchase agreements with plaintiffs and the members of the
25
     proposed class, thereby requiring return of the earnest money deposits in full.
26
        3.     In their misdirected zeal to persuade plaintiffs and the members of the
27
     proposed class to settle the Cosmopolitan litigation for an unjust discounted sum,
28
     defendants used cappers and runners to urge plaintiffs and class members to settle

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                                              2
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1
     for far less than the fair settlement value of the case. The key capper posed as a
2
     Cosmopolitan condominium purchaser and assumed the pseudonym “Kay
3
     Jackson” to do the unethical bidding of defendants. At defendant’s direction and
4
     under their review, she ran a website and blog and posted hundreds of
5
     communications to convince plaintiffs and proposed class members to settle on the
6
     unjust basis proposed by defendants. The tactics employed by defendants through
7
     the cappers and runners included a malicious campaign against competing counsel
8
     who were attempting to litigate the Cosmopolitan claims or hold out for a better
9
     settlement, the ballyhooing of defendants as a “dream team” of lawyers that had
10
     the best interests of plaintiff and the proposed class at heart, and the purveying of
11
     incomplete, inaccurate, and misleading facts about the state of the controversy.
12

13
                                            PARTIES
14

15
        4.    Plaintiff James Estakhrian is and has been a resident of Orange County,
16
     California at all times relevant to the complaint.
17
        5. Plaintiff Abdi Naziri, also known as Alex Naziri, is and has been a resident
18
     of Orange County, California at all times relevant to the complaint. In October,
19
     2005, Naziri signed a standard form Purchase and Sale Agreement and put down a
20
     deposit toward the purchase of a unit in the East Tower of the Cosmopolitan.
21
        6. Defendant Mark Obenstine is an attorney and a member of the Bar of the
22
     State of California. He resides in the State of Nevada. At the time that plaintiff
23
     Estakhrian and the proposed class members signed retainer agreements with
24
     Obenstine in connection with the Cosmopolitan litigation and at all relevant times
25
     thereafter, Obenstine resided in the Los Angeles, California area and maintained a
26
     business address at 4533 MacArthur Boulevard, Suite 108, Newport Beach,
27
     California 92660.
28



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1
        7.     Defendant Benjamin F. Easterlin IV is an attorney and is a member of the
2
     Bar of the State of Georgia. He resides in the State of Georgia. He is a partner in
3
     the defendant law firm King & Spalding, LLP, and works in its Atlanta, Georgia
4
     office.
5
        8.     Defendant Terry A. Coffing is an attorney and is a member of the Bars of
6
     the States of Nevada and Minnesota. He resides in the State of Nevada. He is a
7
     partner in the defendant law firm Marquis & Aurbach, P.C., and works in its Las
8
     Vegas, Nevada office.
9
        9.     Defendant King & Spalding, LLP is an international law firm and a
10
     limited liability partnership. It is one of the largest law firms in the United States,
11
     with over 800 lawyers. King & Spalding is based in Atlanta, Georgia. King &
12
     Spalding maintains offices in and does business in the State of California.
13
        10.    Marquis & Aurbach, P.C. is a law firm and a professional corporation
14
     with offices in Las Vegas, Nevada.
15

16
                                 JURISDICTION AND VENUE
17

18
        11.    This Court has original jurisdiction over this action under the Class
19
     Action Fairness Act, 28 U.S.C. § 1332(d), because this is a class action in which
20
     (1) there are more than 100 members in the proposed class, with the final number
21
     expected to exceed 1,000; (2) plaintiffs and approximately half of the proposed
22
     class members are citizens of California and have a different citizenship from
23
     defendants, or at least one or more of them; and (3) the claims of the individual
24
     proposed class members, when aggregated, exceed the sum or value of
25
     $5,000,000.00, exclusive of interest and costs.
26
        12.    The Central District of California has personal jurisdiction over
27
     defendants because each defendant has done and does business in California and in
28



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1
     this district, and because many of the acts complained of and giving rise to the
2
     claims alleged occurred in California and in this district.
3
        13.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(c) because
4
     plaintiffs resided in this district during the events giving rise to the claims, and
5
     because a substantial part of the events giving rise to the claims occurred in this
6
     district. Intradistrict assignment: Assignment to the Western Division of the
7
     Central District Court of California is proper because a substantial part of the
8
     events and the injury giving rise to these claims have occurred in Orange County,
9
     where defendants solicited clients and enter into legal service agreements.
10

11
                         ADDITIONAL FACTUAL ALLEGATIONS
12
                               A. The Cosmopolitan Development
13

14
        14.    The Cosmopolitan, located in the heart of the Las Vegas Strip, was
15
     promoted as a project consisting of a West Tower with more than 1,300 luxury
16
     residential condominium units and an East Tower with more than 700 such units.
17
     The towers also were to contain a 75,000 square foot casino, an 1,800 seat theater,
18
     and a rooftop beach club. The purchasers of the condominium units, including the
19
     proposed class members here, signed Purchase and Sale Agreements in 2005 and
20
     2006, and made earnest money deposits on their purchases totaling approximately
21
     $250.0 million, or $140,000 apiece on average.
22
        15.    The developer of the Cosmopolitan, 3700 Associates LLC, projected that
23
     the condominium units would be ready for occupancy by early 2008. However,
24
     3700 Associates LLC defaulted on its construction loan with Deutsche Bank,
25
     which then foreclosed on the property in March 2008. Following the foreclosure,
26
     Nevada Property 1, LLC, a wholly-owned subsidiary of Deutsche Bank, acquired
27
     the property and all rights and obligations under the Purchase and Sale
28
     Agreements.

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                                             5
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1
        16.    The construction schedule for the project slipped significantly and for
2
     long periods of time construction on portions of the project was halted. In 2009,
3
     the owner introduced interior design changes, amid allegations that the project was
4
     being turned into a hotel, without the condominium development. By the time the
5
     Cosmopolitan opened in December 2010, the condominium development had been
6
     abandoned, and the structures that had been sold as condominiums were converted
7
     to hotel rooms.
8
                  B. Defendants’ Representation of Plaintiff and the Class
9

10
        17.   Prior to their representation of plaintiffs and members of the proposed
11
     class here, some of the defendants acted as counsel in a case involving another Las
12
     Vegas real estate development. In 2008, defendants Obenstine, Easterlin, and King
13
     & Spalding filed a class action complaint on behalf of purchasers of condominium
14
     units in Trump Tower in Las Vegas, Nevada for return of their deposits.
15
     Obenstine, Easterlin, and King & Spalding were attorneys of record. Donna
16
     Billiter, one of the homeowners and a class action representative, contacted various
17
     condominium purchasers and persuaded them to retain Obenstine, Easterlin, and
18
     King & Spalding as their attorneys. As a result, hundreds of condominium
19
     purchasers in the Trump Tower signed a retainer agreement with Obenstine and
20
     each paid a retainer deposit of $1,500 or more. To plaintiff’s knowledge, the
21
     Trump Tower class action is still pending.
22
        18.   In or about October 2008, Obenstine, Easterlin, and King & Spalding,
23
     using the same client-finding tactics, began soliciting purchasers of condominiums
24
     in the East and West Cosmopolitan towers, seeking to represent them in an action
25
     to recover their purchase deposits.
26
        19.   Plaintiffs are informed and believe that over 500 condominium unit
27
     purchasers signed retainer agreements like the one signed by plaintiff Estakharian
28
     on March 3, 2009, which is annexed to this complaint as Exhibit A. The

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1
     agreement is a contingency fee agreement with a sliding scale of fees owing to the
2
     attorneys if there is a recovery on behalf of the client (Paragraph 3). The object of
3
     the retention was to rescind the Purchase and Sale Agreements and obtain a return
4
     of the escrow deposits, with interest (Paragraph 1). The agreement required
5
     payment by the client of a retainer check in the amount of $1,000.00 for each
6
     condominium unit, as an advance against the costs of the lawsuit (Paragraph 5).
7
     The agreement was signed by Obenstine as the attorney. The agreement described
8
     a fee-sharing agreement between Obenstine and defendant Marquis & Aurbach
9
     (Paragraph 10), but there is no mention in the agreement of either Easterlin or King
10
     & Spalding.
11
        20.   On February 11, 2009, defendants Coffing and Marquis & Aurbach filed
12
     a class action lawsuit in Clark County, Nevada state court on behalf of the class of
13
     Cosmopolitan condominium unit purchasers, including plaintiffs and the proposed
14
     class members, seeking to rescind their purchase contracts and to obtain a refund
15
     of their escrow deposits, alone with interest earned. Daniel Watt, et al. v. Nevada
16
     Property 1, LLC, et al., Case No. A582541. Defendants also directed California
17
     counsel to file a similar class action complaint in California state court on behalf of
18
     California resident purchasers only, and that lawsuit was filed on March 18, 2009,
19
     in Santa Clara County Superior Court. Brian Stone, et al. v. 3700 Associates, LLC
20
     et al., Case No. 109CV137596.
21
        21.    Despite the absence of any mention of Easterlin or King & Spalding in
22
     the retainer agreement with plaintiffs and the proposed class members, Easterlin
23
     and King & Spalding played a prominent role acting as attorneys for plaintiff and
24
     the proposed class from the time leading up to the formation of the lawsuit through
25
     its conclusion, including but not limited to the following actions:
26
               a. Easterlin was the principal architect and strategist for the action;
27
               b. Easterlin and King & Spalding, despite not having entered an
28
                   appearance in the case, acted as attorneys for plaintiffs and the class

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1
                 throughout the litigation by directing litigation and settlement
2
                 strategy, and by participating in all aspects of the litigation except for
3
                 appearances before the court and a formal appearance in the case;
4
              c. Through the actions of cappers and runners as described below, the
5
                 presence of Easterlin and King & Spalding as counsel, and in
6
                 particular the depiction of Easterlin as being one of the lead counsel,
7
                 was used as a drawing card to persuade plaintiff Estakhrian and
8
                 proposed class members to join the action;
9
              d. Easterlin and King & Spalding entered into undisclosed fee-sharing
10
                 agreements with the other defendants;
11
              e. Easterlin along with the other defendants devised the settlement
12
                 strategy in the action; and
13
              f. Easterlin directed, advised, commented on, and provided other input,
14
                 with respect to communications from the cappers and runners
15
                 described below to plaintiffs and the proposed class members,
16
                 including but not limited to the communications disparaging other
17
                 counsel, persuading plaintiffs and the proposed class members that
18
                 they should accept settlement as recommended by defendants, and
19
                 discouraging plaintiffs and the proposed class members from opting
20
                 out or continuing to seek more relief than provided by the settlement.
21

22
                             C. Defendants’ Conflict of Interest
23

24
        22.   Easterlin and King & Spalding had and have a direct conflict of interest
25
     preventing them from representing plaintiffs and the proposed class members. The
26
     conflict of interest arises from King & Spalding’s representation of Deutsche
27
     Bank, the ultimate owner of the Cosmopolitan development. King & Spalding’s
28
     representation of Deutsche Bank occurred at all relevant times during which

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1
     Easterlin and King & Spalding were acting as attorneys for plaintiffs and the
2
     proposed class members.
3
        23.   The conflict of interest prevented Easterlin and King & Spalding from
4
     undertaking any of their actions alleged in Paragraph 21 above. They took those
5
     actions anyway, in the face of the conflict of interest. Their actions were knowing
6
     and voluntary, and taken with full knowledge of, and in conscious disregard of, the
7
     direct conflict of interest. The conflict of interest prevented them from acting with
8
     undivided interest on behalf of plaintiffs and the proposed class members, and
9
     caused them to act in the interest of Deutsche Bank to the detriment of the interest
10
     of plaintiffs and the proposed class members.
11

12
                         D. Defendants’ Other Ethical Improprieties
13

14
        24.     On September 14, 2008, Kay Jackson, with a given address of 8635 W.
15
     Sahara Apt. 596, Las Vegas, Nevada 89117, registered a website with the domain
16
     name of Cosmopolitanpolitanownerslv.com. The website, administered by Kay
17
     Jackson, was created to solicit and retain clients on behalf of defendants with
18
     regard to the Cosmopolitan litigation.
19
        25.    Kay Jackson directly contacted condominium purchasers, forwarded
20
     Obenstine’s retainer agreement on Obenstine’s behalf, and persuaded
21
     Cosmopolitan purchasers to sign the agreement and pay a retainer deposit to
22
     Obenstine. As a result, hundreds of proposed class members signed a retainer
23
     agreement.
24
        26.     On or about February 24, 2009, Kay Jackson contacted plaintiffs on
25
     behalf of defendants, in an attempt to induce them to join the Cosmopolitan
26
     lawsuit. She forwarded to plaintiffs the Obenstine retainer agreement, as well as
27
     Easterlin’s biography from the King & Spalding website, and identified Easterlin
28
     as one of as of the lead attorneys involved in the Cosmopolitan action.

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1
        27.     Later, in June 2010 when she was contacting Cosmopolitan purchasers
2
     on behalf of defendants to persuade them to join “our new action” described
3
     below, Kay Jackson responded to an email from one of the prospective participants
4
     who asked who was heading up the lawsuit. In an email dated June 25, 2010 from
5
     “kay Jackson [mailto:lucke.13@live.com],” she stated:
6
     “Mark Obenstine is heading up the litigation along with Ben Easterlin at King and
7
     Spalding. Just like the last time. I am orgainzing [sic] the group.” The “last time”
8
     is a reference to the Cosmopolitan litigation (Watt and Stone).
9
        28.     Kay Jackson claimed that she was a purchaser of a condominium unit
10
     in Cosmopolitan. No such name appears on the rolls of purchasers of the
11
     Cosmopolitan units. On information and belief, her statement that she was a
12
     Cosmopolitan condominium purchaser is false.
13
        29.     Kay Jackson apparently is a pseudonym for Donna Billiter. In
14
     providing her telephone contact in connection with the registration of the
15
     cosmopolitanownerslv.com website, Kay Jackson gave her telephone number as
16
     (702) 604-7960. In an email from donnabilliter@aol.com on June 7, 2008 to the
17
     purchasers in the Trump Tower litigation, Donna Billiter gave her telephone
18
     number as (702) 604-7960. Donna Billiter owns Maverick Services, Inc., a
19
     company incorporated in Nevada in late 2009, which may be involved in the
20
     actions of Kay Jackson and Donna Billiter described here.
21
        30.    From October 2008 through December 2010, the
22
     cosmopolitanownerslv.com website generated 675 posts from 368 persons, in over
23
     400 pages of messages. Kay Jackson generated approximately half of the total
24
     posts, and approximately 25 percent of the posts were generated by Sanjay
25
     “Sonny” Varma, a purchaser and class representative in the Cosmopolitan
26
     litigation, who sent messages from srfntm@gmail.com. Collectively, the messages
27
     from Kay Jackson and Sanjay Varma vouched for the defendants, disparaged
28
     competing attorneys, encouraged purchasers to join the Cosmopolitan litigation

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1
     conducted by defendants, and encouraged them to join in the settlement of the case
2
     when settlement was proposed. The messages from Kay Jackson on the
3
     cosmopolitanownerslv.com website, along with email communications sent to
4
     plaintiff and class members, include the following:
5
              a. September 20, 2008: In referring to defendants Obenstine, Easterlin,
6
                 and King & Spalding, she stated; “the attorneys representing the
7
                 Trump group have looked at our documents to some degree and have
8
                 identified some causes of action to rescind the contract. They have
9
                 told me it is very similar to the Trump case only better.”
10
              b. October 11, 2008: As one example of Kay Jackson’s efforts to recruit
11
                 Cosmopolitan purchasers for the lawsuit on behalf of defendants, she
12
                 complimented Sanjay Varma’s “skills on the internet” and stated: “if
13
                 anyone else can bring something to the table to make our numbers
14
                 greater, call me or email me.”
15
              c. December 8, 2008: In further reference to the recruitment of
16
                 purchasers, she stated: “our numbers are growing, slowly, but they
17
                 are still growing. I am signing people all by myself ….”
18
              d. January 25, 2009: Prior to the filing of the Watt lawsuit, she wrote in
19
                 support of defendants (“smart and aggressive and have the resources
20
                 to go all the way”) and against competing attorneys (“other attorneys
21
                 are hopping on the band wagon and trying to break up our group for
22
                 their own gain”; “bottom feeding for clients”).
23
              e. February 15, 2009: After the Watt suit was filed, she provided an
24
                 update to explain that Marquis & Aurbach was added as attorneys
25
                 because that firm was needed to navigate through the Nevada courts.
26
                 In referring to the addition of Marquis & Aurbach to the team, she
27
                 stated: “They also have an excellent reputation so our ‘Dream Team’
28
                 of attorneys are even stronger now.”

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1
               f. October 25, 2009: In referring to attorneys who were representing
2
                  three people not part of the class settlement in Watt, she said:
3
                  “However, since they are actively working to derail the settlement and
4
                  calling us to try to get us to jump ship, not take the settlement, and go
5
                  with them, they may be disqualified by the court and if that happens
6
                  they will not be allowed to represent anyone including their own
7
                  clients.”
8
               g. November 4, 2009: Kay Jackson sent an update to East Tower
9
                  purchasers who might feel that they were “being left out in the cold
10
                  with all the recent activity with the settlement with the West tower.”
11
                  In referring to “our attorneys,” she assured that she had “met with Ben
12
                  Easterlin and Mark Obenstine last week” and that “[t]he answers from
13
                  Mr. Easterlin and Mr. Obenstine were very positive.”
14
               h. November 26, 2009: In a message to discourage class members from
15
                  talking with attorneys attempting to talk them into opting out of the
16
                  class settlement, she wrote that the attorneys were “bottom feeding for
17
                  clients,” “working the angles,” “are also saying anything and
18
                  everything to get people not to take the settlement and sign up with
19
                  them,” and are “pretty underhanded.”
20
               i. January 24, 2010: In referring to defendants’ law firms, she stated:
21
                  “What we ended up with was three very established and well
22
                  respected law firms ….”
23
        31.    The actions of Kay Jackson and Sanjay Varma described here were
24
     under the direction of, with the approval of, and with the participation of
25
     defendants, particularly defendants Obenstine and Easterlin. In undertaking their
26
     actions described here, Kay Jackson and Sanjay Varma acted as cappers or runners
27
     for defendants, that is, they acted as agents for defendants in the solicitation or
28
     procurement of business for defendants. Kay Jackson as a capper or runner

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1
     additionally solicited Sanjay Varma to commit or join in such solicitation on behalf
2
     of defendants.
3
                         E. Settlement of the Cosmopolitan Litigation
4

5
        32.     Defendants negotiated a settlement with the Cosmopolitan defendants
6
     on a classwide basis. On October 21, 2009, notice of class settlement for purchase
7
     agreements in the West Tower was issued, and on February 24, 2010, notice of
8
     class settlement for purchase agreements in the East Tower was issued. Fairness
9
     hearings were conducted on December 14, 2009 with respect to the West Tower
10
     and on April 6, 2010 with respect to the East Tower, and the court gave final
11
     approval to the settlements shortly thereafter. Defendants represented that the
12
     settlement resulted in West Tower purchasers receiving an amount equal to 64.4%
13
     of their escrow deposits. The settlement notice for the East Tower settlement
14
     stated that those purchasers’ total recovery after attorneys’ fees and costs was
15
     60.2% of the principal escrow deposit, less a $350 escrow cancellation fee.
16
        33.    In presenting the settlement to the proposed class and the court,
17
     including the class notice, defendants did not disclose the involvement in the case
18
     and in the settlement process of Easterlin and King & Spalding, and did not
19
     disclose the conflict of interest of those defendants. Also, defendants did not
20
     disclose the information they possessed due to the representation of Deutsche Bank
21
     by King & Spalding. Nor did defendants disclose their direction of, approval of,
22
     and participation in the actions of Kay Jackson and Sanjay Varma described here.
23
     All of these matters had an adverse material effect on plaintiff and the proposed
24
     class members.
25
        34.    Plaintiffs relied upon the representations and omissions of defendants
26
     and Kay Jackson in deciding to accept the settlement and not opt out of the lawsuit.
27

28



     SECOND AMENDED COMPLAINT FOR DAMAGES

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1
                                 F. Failure to Return Retainers
2

3
        35.    Despite the settlement of the case, plaintiff Estakhrian and other
4
     members of the class who signed a retainer agreement with Obenstine did not
5
     receive reimbursement of all of their $1,000 retainer deposits. Expenses were paid
6
     as part of the settlement of the case, and defendants were required to return the
7
     retainer deposits and did not return all of those deposits. In the case of plaintiff
8
     Estakhrian and other class members, defendants without contractual or legal basis
9
     retained $250 of the retainer deposit as an “administrative fee.” Plaintiff
10
     Estakhrian received his partial refund at his home in this district. Defendants
11
     provided no explanation of the basis for the charge of the “administrative fee.”
12
        36.    Upon information and belief, many of the class members received no
13
     refund of their $1,000 retainer deposit from defendants. Others received a partial
14
     refund only after repeated requests.
15

16
                                     G. Plaintiffs’ Discovery
17

18
        37.    By letter dated April 26, 2010, Obenstine wrote to plaintiffs and others
19
     who had accepted the settlement in the Cosmopolitan litigation, proposing a new
20
     lawsuit against the defendants in that case to recover the balance of the escrow
21
     deposits not recovered in the settled action, plus punitive damages. The theory of
22
     the proposed new action, and the rationale for circumventing the release of claims
23
     in the class settlement, was that the Cosmopolitan defendants had engaged in
24
     “intentional misconduct and fraudulent concealment.”
25
        38.    The new action was filed on March 4, 2011 in state court in Clark
26
     County, Nevada, Kristoffer Williamson et al. v. Deutsche Bank, et al., Case No. A-
27
     11-636407-C. The alleged misrepresented and concealed facts related to
28
     undisclosed reasons for construction delays and undisclosed major design changes

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1
     to the condominium units indicating that the units were being constructed as hotel
2
     rooms, not as residential units.
3
        39.    As with the prior action, defendants Easterlin and King & Spalding did
4
     not enter an appearance in the case. However, their role as attorneys for the
5
     plaintiffs and the proposed class in the new action was and is the same as in the
6
     prior action.
7
        Plaintiff Estakhrian
8
        40.    After being asked to join the new action, plaintiff began to investigate the
9
     questions of how and why the new plaintiff group could pursue recently released
10
     claims for the remainder of the escrow deposits, and how defendants, in the words
11
     of Obenstine’s April 26, 2010 letter, could have been “working to perfect a legal
12
     strategy” to collect the remainder of the escrow deposits “[o]ver the last several
13
     months,” even prior to the conclusion of the settlement of the first action.
14
        41.    Around June 2010, plaintiff discovered that King & Spalding represented
15
     Deutsche Bank, and therefore was subject to a conflict of interest. Plaintiff also
16
     discovered that there is no such person as Kay Jackson on the public records of
17
     Cosmopolitan condominium purchasers. These discoveries led plaintiff to believe
18
     that defendants and Kay Jackson misrepresented and concealed facts to induce
19
     Cosmopolitan class members to settle their claims for a portion of the value of
20
     their escrow deposits.
21
        42.    The irony of the allegations in the Williamson case is that it is defendants
22
     who, because of the direct conflict of interest of their lead attorneys, knew but
23
     failed to disclose to their clients, facts about the construction of the Cosmopolitan
24
     condominium project, the disclosure of which would have led plaintiff and the
25
     proposed class members to recover the full and fair value of their claim.
26
        Plaintiff Naziri
27
        43.Plaintiff Naziri reviewed all of the materials provided by Class Counsel and
28
     the Court regarding the settlement of the initial class action. Relying on those

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1
     representations and the fact the Court had approved the settlement, and knowing
2
     nothing about the involvement of Easterlin or King & Spalding or their conflicts of
3
     interests, he did not opt out of the settlement and received a payment of
4
     approximately $89,000, significantly less than the deposit he had paid. Plaintiff
5
     Naziri did not become aware of and could not reasonably have discovered the
6
     further fraud committed by Defendants more than three years prior to the filing of
7
     this action.
8
                     H. Harm to Plaintiffs and Proposed Class Members
9

10
        44.    As a result of the actions of defendants and each of them alleged here,
11
     plaintiffs and members of the proposed class have suffered injury, including
12
     substantial monetary loss. But for the actions of defendants alleged here, plaintiffs
13
     and the proposed class members would have recovered at least the full value of
14
     their escrow deposits, plus interest.
15

16
                              CLASS ACTION ALLEGATIONS
17

18
        45.     Pursuant to Federal Rules of Civil Procedure 23(a) and (b)(3), plaintiffs
19
     bring this case as a class action on behalf of all class members who accepted
20
     settlement in the Cosmopolitan litigation and did not opt out of the settlement,
21
     except for Sanjay Varma who is excluded from the proposed class due to the
22
     matters described here, and on behalf of a subclass of those who did not receive a
23
     full refund of their retainer deposit from defendants.
24
        46.    The number of individuals in the class is so numerous that joinder of all
25
     members is impracticable, and exceeds 1,000. It would be impracticable to bring
26
     all—or even a substantial percentage of—such persons before the Court as
27
     individual plaintiffs through joinder.
28



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1
        47.         Common questions of law and fact exist as to members of the class. The
2
     overarching question of law and fact that is common to all members of the class is
3
     whether defendants have failed in their professional and fiduciary duties to
4
     plaintiffs and the proposed class members because of a conflict of interest and
5
     because of other ethical improprieties alleged here. There are numerous sub-issues
6
     of law and fact that are common to all members of the class, including, but not
7
     limited to, the following:
8             (a)      Whether defendants violated the California Unfair Competition
9                      Law, Cal. Bus. & Prof. Code § 17200 et .seq., by their acts and
                       omissions alleged here;
10
              (b)      Whether defendants violated Cal. Bus. & Prof Code § 6152 when
11                     they engaged Kay Jackson and Sanjay Varma to perform the actions
12
                       alleged here;
              (c)      Whether Defendants violated the California Consumers Legal
13                     Remedies Act, Cal. Civ. Code § 1750 et seq., by misrepresenting the
14                     nature of their professional services, failing to disclose the conflict of
                       interest, and acting in the face of that conflict of interest;
15
              (d)      Whether defendants defrauded plaintiffs and the proposed class
16                     members by their acts and omissions alleged here;
              (e)      Whether defendants breached their contract and contractual duties
17
                       toward plaintiffs and the proposed class members in connection with
18                     the Cosmopolitan litigation and settlement; and
19
              (f)      Whether defendants breached their contract and contractual duties
                       toward plaintiff Estakhrian and the proposed class members who did
20
                       not receive a full refund of their retainer deposits.
21
        48.         Plaintiffs’ claims are typical of the claims of all class members because
22
     (1) they all have been adversely affected by defendants’ breach of contract, conflict
23
     of interest, and unethical and tortious actions that deprived plaintiff and the
24
     proposed class members of the opportunity to recover the full and fair value of
25
     their claim for the refund of their escrow deposits with interest, and (2) their claims
26
     are all based on the same legal theory or theories.
27
        49.         Each of the Plaintiffs will fairly and adequately represent the interests of
28
     the class because: (1) he is willing and able to represent the proposed class and has
     SECOND AMENDED COMPLAINT FOR DAMAGES

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1
     every incentive to pursue this action to a successful conclusion; (2) his interests are
2
     not antagonistic to those of the other class members; and (3) he is represented by
3
     counsel experienced in litigating complex class actions.
4
        50.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(3). The
5
     common questions of law and fact identified above predominate over questions
6
     affecting only individual members. A class action is superior to other available
7
     methods for the fair and efficient adjudication of this litigation. Requiring each
8
     class member to pursue his or her claim individually would entail needless
9
     duplication, might result in inconsistent judgments, and would waste the resources
10
     of both the parties and the judiciary. Moreover, the financial burden of proving
11
     that defendants violated the law as alleged here also would make the prosecution of
12
     individual actions virtually impossible for most, if not all, members of the class.
13

14
         FIRST CAUSE OF ACTION FOR PROFESSIONAL MALPRACTICE
15
                                    (Against All Defendants)
16

17      51.   Plaintiffs reallege the allegations contained in all preceding paragraphs.
18      52.     Defendants acted as attorneys for plaintiffs and the proposed class
19   members in the Cosmopolitan litigation, irrespective of whether or not they all
20   entered an appearance in the case.
21      53.     Defendants had a duty to exercise ordinary care, skill and diligence in
22   carrying out their responsibilities to plaintiff and the proposed class members,
23   including complying with the ethical and other standards of the legal profession.
24      54.     Because of their actions and omissions alleged here, defendants failed to
25   exercise ordinary care, skill, and diligence while representing and advising plaintiff
26   and the proposed class members and thus were negligent.
27      55.    As a direct and proximate result of defendants’ negligence, plaintiff and
28   the proposed class members have been damaged as described here, and are entitled
     to recover damages, as well as a disgorgement of fees retained by defendants.
     SECOND AMENDED COMPLAINT FOR DAMAGES

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1

2
          SECOND CAUSE OF ACTION FOR BREACH OF FIDUCIARY DUTY
3
                                      (Against All Defendants)
4

5         56.    Plaintiffs reallege the allegations contained in all preceding paragraphs.
6         57.    A relationship of special trust and confidence existed between
7    defendants, on the one hand, and plaintiffs and the proposed class members, on the
8    other hand, by virtue of the defendants’ professed special skill, knowledge, and
9    expertise, the attorney-client relationship existing between them, the relationship of
10   mutual confidence, and the established course of dealing between them.
11        58.    As a result of this special relationship of trust and confidence and the
12   attorney-client relationship existing between defendants and plaintiffs and the
13   proposed class members, defendant owed to plaintiffs and the proposed class
14   members a fiduciary duty of loyalty, utmost good faith, competence, and diligence.
15        59.    Because of their actions and omissions alleged here, including but not
16   limited to the failure to disclose the conflict of interest and acting in the face of that
17   conflict of interest, withholding material information from the court, plaintiffs and
18   the proposed class members in the Cosmopolitan litigation, misleading plaintiffs
19   and the proposed class members as to the fairness of the Cosmopolitan settlement,
20   and unethically and unlawfully engaging cappers and runners, defendants breached
21   their fiduciary duties to plaintiffs and the proposed class members, and failed to
22   competently and diligently carry out their responsibilities.
23        60.   As a direct and proximate result of defendants’ breach of fiduciary duties,
24   plaintiffs and the proposed class members have been damaged as described here,
25   and are entitled to recover damages, as well as a disgorgement of fees retained by
26   defendants.
27   //
28   //

     SECOND AMENDED COMPLAINT FOR DAMAGES

                                             19
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1
              THIRD CAUSE OFACTION FOR BREACH OF CONTRACT
2
                         (Against All Defendants by Plaintiff Estakhrian)
3

4       61.   Plaintiff Estakhrian realleges the allegations contained in all preceding
5    paragraphs.
6       62.    In their retainer agreement with plaintiff Estakhrian and members of the
7    proposed class, defendants committed and were obliged to provide representation
8    in accordance with the agreement and in accordance with the standards of the legal
9    profession. Additionally, contained within the agreement was the implied
10   covenant of good faith and fair dealing, requiring that neither party do anything
11   that would injure the right of the other to receive the benefits of the agreement.
12   The covenant imposes upon each party the obligation to do everything that the
13   contract presupposes they will do to accomplish its purpose.
14      63.   Because of their actions and omissions alleged here, defendants breached
15   their contract and contractual duties toward plaintiff, and breached the implied
16   covenant of good faith and fair dealing.
17      64.   As a direct and proximate result of defendants’ breach of contract,
18   plaintiff and the proposed class members have been damaged as described here,
19   and are entitled to recover damages, as well as a disgorgement of fees retained by
20   defendants.
21      65.   Additionally, plaintiff and those proposed class members who did not
22   receive a full refund of the $1,000 retainer deposit paid to defendants are entitled to
23   reimbursement.
24      66.   The retainer agreement and the settlement of the Cosmopolitan litigation
25   obligated defendants to refund in full the $1,000 retainer amounts paid by plaintiff
26   and members of the proposed class. For plaintiff and many of the proposed class
27   members, defendants failed and refused to refund all or any of the retainer
28   amounts. As a result, defendant breached the retainer agreement and damaged
     plaintiff and each class member in any amount less than $1,000 that they received.
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1
     Plaintiff and the proposed class members are entitled to recover these unpaid
2
     amounts, with interest.
3

4
          FOURTH CAUSE OF ACTION FOR VIOLATION OF CALIFORNIA
5
         UNFAIR COMPETITON LAW (Cal. Bus. & Prof. Code §§ 17200 et seq.)
6
                                    (Against All Defendants)
7

8       67.   Plaintiffs reallege the allegations contained in all preceding paragraphs.
9       68.   Defendant’s acts and omissions alleged here violate the California Unfair
10   Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq. Section 17200
11   prohibits unfair competition by engaging in, among other things, any unlawful or
12   unfair business acts or practices.
13      69.   Defendants committed acts of unfair competition, as defined by the
14   Unfair Competition Law, by, among other things, engaging in the acts and
15   omissions alleged here. Also, defendants committed such acts and omissions with
16   the intent and objective of gaining an unfair competitive advantage over other
17   attorneys that compete with defendants for legal work, as evidenced by the false
18   and malicious statements made by defendants’ agents with regard to competing
19   attorneys in the Cosmopolitan litigation.
20      70.   Defendants engaged in acts and omissions in violation of the Unfair
21   Competition Law by violating, among others, Cal. Bus & Prof Code § 6152, which
22   prohibits the engagement of cappers and runners for any attorney or to solicit
23   business for any attorney, and Nev. Rev. Stat. Ann. § 7.045, which contains similar
24   prohibitions.
25      71.   As a direct and proximate result of defendants’ acts and omissions alleged
26   here, plaintiffs and the proposed class members have suffered and continue to
27   suffer direct and substantial injury, and defendants received and continue to hold,
28   and to unlawfully profit from, ill-gotten gains rightfully belonging to plaintiffs and
     the proposed class members.
     SECOND AMENDED COMPLAINT FOR DAMAGES

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1
        72.    Plaintiffs and the proposed class members are entitled to restitution
2
     pursuant to the Unfair Competition Law in the amounts unlawfully received and
3
     held by defendants, with interest, as well as an award of attorneys’ fees and the
4
     costs of this action.
5

6
              FIFTH CAUSE OF ACTION FOR VIOLATION OF CALIFORNIA
7
                             CONSUMERS LEGAL REMEDIES ACT
8                                    (Cal. Civ. Code §§ 1750 et seq.)
9
                                       (Against All Defendants)
10

11      73.     Plaintiffs reallege the allegations contained in all preceding paragraphs.
12      74.     By their actions and omissions alleged here, defendants engaged in
13   unfair methods of competition and unfair or deceptive practices or acts in their
14   representation of plaintiffs and the proposed class members, in violation of the
15   California Consumers Legal Remedies Act. Specifically, and without limitation,
16   defendants by their failure to disclose the conflict of interest and by acting in the
17   face of the conflict of interest, and in their other ethical and professional
18   improprieties alleged here: (1) misrepresented the source of their services in
19   violation of Cal. Civ. Code § 1770(2); and (2) misrepresented the affiliation,
20   connection, or association with the entity giving rise to the conflict of interest, in
21   violation of Cal. Civ. Code § 1770(3).
22      75.     As a direct and proximate result of defendants’ violation of the
23   California Consumers Legal Remedies Act, plaintiffs and the proposed class
24   members have been injured as described here. Defendants have acted in bad faith,
25   and have shown willful misconduct, malice, fraud, wantonness, or oppression or
26   that entire want of care which would raise the presumption of conscious
27   indifference to consequences. As a direct and proximate result of defendants’
28   actions and omissions alleged here, plaintiffs and the proposed class members have

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1
     been injured, and are entitled to injunctive relief.
2
                             SIXTH CAUSE OF ACTION FOR FRAUD
3
                                         (Against All Defendants)
4

5       76.        Plaintiffs reallege the allegations contained in all preceding paragraphs.
6       77.        Defendants’ statements and omitted statements alleged here to plaintiff
7    and the proposed class members regarding the conflict of interest, and the
8    statements and omitted statements by defendants and their cappers and runners to
9    plaintiff and the proposed class members regarding the settlement of the case and
10   the value both of the proposed settlement and of defendants’ services in relation to
11   the value of the services of other attorneys, contained knowingly false
12   representations. These statements and omitted statements were made with intent to
13   deceive, defraud, or to induce reliance.
14      Plaintiffs and the proposed class members justifiably relied upon the fraudulent
15   statements and omitted statements of defendants and their agents. As a direct and
16   proximate result, plaintiffs and the proposed class members have been damaged,
17   and are entitled to recover damages, including punitive damages.
18

19                                      PRAYER FOR RELIEF
20

21      WHEREFORE Plaintiffs respectfully request this Court to:
22            a.        Certify this case as a class action;
23            b.        Award plaintiffs and the proposed class members, and require
24                      defendants to pay, as damages or restitution, the balance of
25                      plaintiffs’ and class members’ lost escrow deposits not paid in
26                      settlement in the Cosmopolitan litigation, with interest; and award
27                      plaintiff Estakhrian and those proposed class members not provided
28                      a full refund of their legal retainer deposit, the unreimbursed balance
                        of that deposit, with interest;
     SECOND AMENDED COMPLAINT FOR DAMAGES

                                                 23
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1
           c.      Award punitive damages where appropriate;
2
           d.      Require defendants to disgorge the fees they unlawfully retain;
3
           e.      Award plaintiffs and the proposed class members their reasonable
4
                   attorneys’ fees and costs of the action; and
5
           f.      Order such other and further relief as the Court deems just and
6
                   proper.
7

8
     Dated: October 27, 2015                        Respectfully submitted,
9                                                   IRVINE LAW GROUP, LLP
10                                                  MEHRI & SKALET PLLC
                                                    FAY LAW GROUP PLLC
11
                                                    CHAVEZ & GERTLER LLP
12

13                                                By:__/S/_______________
14                                                  Ron Alikani, Esq.
15
                                                    Attorneys for Plaintiffs and the
                                                    Proposed Class
16

17                                JURY TRIAL DEMAND
18      Plaintiffs hereby demand a jury trial on all issues so triable.
19
     Dated: October 26, 2015                        Respectfully submitted,
20
                                                    IRVINE LAW GROUP, LLP
21
                                                    MEHRI & SKALET PLLC
22                                                  FAY LAW GROUP PLLC
                                                    CHAVEZ & GERTLER LLP
23

24

25
                                                    By:____/S/_______________
26
                                                    S. Ron Alikani, Esq.
27                                                  Attorneys for Plaintiffs and the
28                                                  Proposed Class

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